        Case 2:08-cr-00449-WBS Document 233 Filed 05/28/13 Page 1 of 4


 1   JAMES R. GREINER, ESQ.
     CALIFORNIA STATE BAR NUMBER 123357
 2   LAW OFFICES OF JAMES R. GREINER
     555 UNIVERSITY AVENUE, SUITE 290
 3   SACRAMENTO, CALIFORNIA 95825
     TELEPHONE: (916) 649-2006
 4   FAX: (916) 920-7951
 5   ATTORNEY FOR DEFENDANT
     TIEN THE LE
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                    IN THE UNITED STATES DISTRICT COURT FOR THE
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                           EASTERN DISTRICT OF CALIFORNIA
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11
12   UNITED STATES OF AMERICA, )                  CR.-S-NO.-08-449–03 WBS
                                                  )
13          PLAINTIFF,                    )
                                                  )        STIPULATION AND (PROPOSED)
14          v.                                    )        ORDER TO CONTINUE THE
                                                  )        JUDGMENT AND SENTENCING
15   TIEN THE LE,                                 )        AND MOTION FOR ACQUITTAL
                                                  )        AND NEW TRIAL TO MONDAY,
16                                                )        AUGUST 26, 2013
           DEFENDANT.                             )
17   ______________________________)
18
            Plaintiff, the United States of America, by Assistant United States Attorneys, Mr. Jason Hitt,
19
     and Ms. Jill Thomas and defendant Tien The Le by his attorney James R. Greiner, all stipulate and
20
     agree that the Judgment and Sentence date and the date of hearing on the Motions, Judgment of
21
     Acquittal and New Trial can be set for Monday, August 26, 2013, at 9:30 a.m. before the
22
     Honorable Senior United States District Court Judge William B. Shubb. The parties agree and
23
     stipulate that the current date of Monday July 1, 2013, set for the Judgment and Sentencing and the
24
     hearing on the Motions of Judgment of Acquittal and New Trial can be vacated by the Court. The
25
     Court’s availability on this date, August 26, 2013, has been confirmed.
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                                           BACKGROUND
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        Case 2:08-cr-00449-WBS Document 233 Filed 05/28/13 Page 2 of 4


 1          On March 26, 2013, the jury returned a verdict of Guilty on Court one and a Not Guilty
 2   verdict on Court two.
 3          Probation agrees with the continuance and the amended schedule.
 4                           AMENDED SCHEDULE FOR DISCLOSURE
 5                                   OF PRE-SENTENCE REPORT
 6          The parties and probation agree to the following amended schedule for the disclosure of the
 7   pre-sentence report:
 8          Disclosure of Proposed pre-sentence report                 June 24, 2013
 9          Counsels’ written objections                               July 8, 2013
10          Pre-Sentence Report filed with the Court                   July 15, 2013
11          Motion for Correction of Pre-Sentence Report               July 29, 2013
12          Reply                                                      August 12, 2013
13          Judgment and Sentence                                      August 26, 2013
14                               HEARING DATE FOR MOTIONS OF
15                                  ACQUITTAL AND NEW TRIAL
16          The parties agree and stipulate that the Motions Judgment for Acquittal and New Trial can be
17   set for Monday, August 26, 2013, and the current date of Monday, July 1, 2013, can be vacated by
18   the Court.
19
20                                         Respectfully submitted,
                                           BENJAMIN B. WAGNER
21                                         UNITED STATES ATTORNEY
22   DATED: 5-24-13                      /s/ JASON HITT
                                       _____________________________________
23                                       JASON HITT,
                                         JILL THOMAS
24                                       ASSISTANT UNITED STATES ATTORNEYS
25
     DATED: 5-24-13                        /s/ JAMES R. GREINER
26                                         _______________________________________
                                           James R. Greiner
27                                         Attorney for Defendant
                                           TIEN THE LE
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        Case 2:08-cr-00449-WBS Document 233 Filed 05/28/13 Page 3 of 4


 1
 2                                           ORDER
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 5   THE COURT MAKES THE FOLLOWING FINDINGS:
 6          The Court finds request of the parties to be reasonable and therefore adopts the request of the
 7   parties as follows:
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 9
10                            AMENDED SCHEDULE FOR DISCLOSURE
11                                    OF PRE-SENTENCE REPORT
12
13          Disclosure of Proposed pre-sentence report                   June 24, 2013
14          Counsels’ written objections                                 July 8, 2013
15          Pre-Sentence Report filed with the Court                     July 15, 2013
16          Motion for Correction of Pre-Sentence Report                 July 29, 2013
17          Reply                                                        August 12, 2013
18          Judgment and Sentence                                        August 26, 2013, 9:30 am
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26                                HEARING DATE FOR MOTIONS OF
27                                   ACQUITTAL AND NEW TRIAL
28          The Court sets the Hearing date for the Motions Judgment for Acquittal and New Trial on


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        Case 2:08-cr-00449-WBS Document 233 Filed 05/28/13 Page 4 of 4


 1   Monday, August 26, 2013 at 9:30 a.m., and the current date of Monday, July 1, 2013, is vacated by
 2   the Court.
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 4          IT IS SO ORDERED.
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     DATED: May 28, 2013
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